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                      EXHIBIT D
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                                                 EFiled: Sep 22 2017 11:05AM EDT
                                                 Transaction ID 61147673
                                                 Case No. 12111-VCS
   IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

                                   :
THE NATIONAL COLLEGIATE            :
STUDENT LOAN MASTER TRUST, et al., :
                                   :
         Plaintiffs,               :          C.A. No. 12111-VCS
                                   :
           v.
                                   :
PENNSYLVANIA HIGHER EDUCATION :
ASSISTANCE AGENCY D/B/A            :
AMERICAN EDUCATIONAL SERVICES, :
                                   :
         Defendant.                :
                                   :



  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
              FOR EMERGENCY RELIEF




Dated: September 22, 2017
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      For the reasons discussed below, Plaintiff Trusts, 1 by their undersigned

counsel, respectfully request that the Court grant their Motion for Emergency

Relief allowing counsel for the Owners of the beneficial interests of the Trusts to

execute the Notice of Default to the Special Servicer and the Notice of Default to

the Administrator (collectively the “Default Documents”), as the Owners initially

instructed in their Authorization and Direction Letter2 sent to Wilmington Trust

Company (“Wilmington”), pursuant to the Proposed Consent Judgment filed by the

Consumer Financial Protection Bureau (“CFPB”) and the Trust Agreement.

Plaintiffs require this immediate relief because Wilmington refuses to carry out its

duties under the Trust Related Agreements, placing the Trusts at immediate risk of

potentially violating the Indenture. Copies of the default notices and the related

instruction letter are attached as Composite Exhibit 1 hereto.3

1
 “Plaintiffs” or “Trusts” refers to The National Collegiate Master Student Loan
Trust I, The National Collegiate Student Loan Trusts 2003-1, 2004-1, 2004-2,
2005-1, 2005-2, 2005-3, 2006-1, 2006-2, 2006-3, 2006-4, 2007-1, 2007-2, 2007-3,
and 2007-4, collectively.
2
  Plaintiffs sent an initial Authorization and Direction letter on September 18,
2017, notifying Wilmington of the CFPB Proposed Consent Judgment, and
findings that breaches had occurred. Plaintiffs sent a renewed Authorization and
Direction letter on September 20, 2017, pursuant to communications between
Plaintiffs and Wilmington, in another attempt to have Wilmington comply with
Owner instructions. See Exhibit 2.
3
 Exhibits referenced herein are exhibits to the Affidavit of Amy E. Keller in
Support of Plaintiffs’ Motion for Emergency Relief, which is attached to the
Transmittal Affidavit of Michael T. Manuel, filed contemporaneously herewith.
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                           STATEMENT OF FACTS

      On September 18, 2017, the CFPB filed a Proposed Consent Judgment in the

United States District Court for the District of Delaware, pursuant to a stipulated

consent to the issuance of a consent order executed by the Trusts. See Composite

Exhibit 3 (Stipulation and Consent to the Issuance of a Consent Order and

Proposed Consent Judgment). The Proposed Consent Judgment made findings

regarding the wrongdoing of several of the Trusts’ Servicers.4 Specifically, the

CFPB found, that in connection with the collection of student loans, the Servicers

(1) provided false and misleading affidavits and testimony; (2) provided

improperly notarized affidavits; (3) filed lawsuits without the ability to prove the

claims if contested; and (4) engaged in the collection of time-barred debt.

Exhibit 3 ¶4.

      As part of the Proposed Consent Judgment, the Trusts are required to “take

all actions necessary to comply with the terms of the Order, including but not

limited to ensuring that all of the [the Trusts’] Servicers acting as [the Trusts’]

agents comply with the terms of the Order.” Exhibit 3 ¶9. Additionally, the Trusts


4
  The term “Servicer” is defined by the Proposed Consent Judgment as “any
Servicer, Primary Servicer, Subservicer, Administrator and any other individual or
entity acting on behalf of [the Trusts] with respect to the servicing of the student
loans owned by Respondents, whether retained directly by [the Trusts] or retained
by an individual or entity acting on behalf of [the Trusts].” Exhibit 3 ¶7q.



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must “require that any of the [Trusts’] Servicers or other agents retained by [the

Trusts] in connection with servicing or collection of student loans (1) agree to

abide by the terms and conditions of the Order and (2) require any agents that [the

Trusts’] Servicers hire in connection with servicing or collection of student loans

to abide by the terms and conditions of the Order.” Exhibit 3 ¶9b.

      The manner by which the Trusts are able to hold their Servicers accountable

for breaches of the Trust Related Agreements, including those breaches identified

by the CFPB, is governed by the Indenture. Exhibit 4 (Indenture, §§ 3.07(d) and

3.18). Section 3.07(d) of the Indenture provides that:

             If the Issuer shall have knowledge of the occurrence of a
             Servicer Default, an Administrator Default or a Back-up
             Administrator Default, the Issuer shall promptly notify the
             Indenture Trustee and the Rating Agencies thereof, and shall
             specify in such notice the action, if any, the Issuer is taking
             with respect to such default.

      Section 3.18 of the Indenture further provides that the Trusts must give the

Indenture Trustee prompt written notice of each Event of Default:

             The issuer shall give the Indenture Trustee and the Rating
             Agencies prompt written notice of each Event of Default
             hereunder and each default on the part of a Servicer of its
             obligations under a Servicing Agreement or the Administrator
             of its obligations under the Administration Agreement. In
             addition, the Issuer shall deliver to the Indenture Trustee, within
             five days after the occurrence thereof, written notice in the form
             of an Officers’ Certificate of the Issuer of any event which with
             the giving of notice and the lapse of time would become an
             Event of Default under Section 5.01(iii), its status and what


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            action the Issuer is taking or proposes to take with respect
            thereto.

      Under the Trust Agreements, the Trusts are not permitted to act on their own

behalf. Exhibit 5 (Trust Agreement, §2.03(b)(i)). Although the Trusts act in their

own name, “the Owner Trustee or other agents . . . act on behalf of the Trust[s]

subject to the direction by the Owners. . . .” Id. Therefore, the Owner Trustee,

Wilmington, is required to act on behalf of the Trusts, as directed by the Owners,

so long as the direction is not improper under the Trust Related Agreements.

Exhibit 5 (Trust Agreement, § 4.02(a)).

      On September 18, 2017, in accordance with the provisions identified above,

the Trusts sent Wilmington an Authorization and Direction Letter (subsequently

amended on September 20, 2017). Composite Exhibit 1. The letter instructed the

Owner Trustee to execute and deliver Notices of Default to the Administrator and

the Special Servicer of the Trusts. Id. Wilmington, however, consistent with its

routine refusals to follow Owner instructions, refused to follow these instructions

as well.5 By refusing to act and execute the Default Documents, Wilmington is

forcing the Trusts to potentially breach the Trust Related Agreements.           If




5
  See email correspondence between L. Gotthoffer, A. Levitt, and N. Caggiano,
attached hereto as Exhibit 2.



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Wilmington is not ordered to execute the Default Documents as required by the

Trust Related Agreements, the Trusts will suffer irreparable harm including:

              Placing the Trusts at risk of immediate proceedings for the

                collection of all amounts payable on the Notes and/or complete or

                partial foreclosure of the Indenture;6

              The immediate sale of the Notes comprising the Indenture Trust

                Estate;7 and

              Allowing for the continued engagement of the Trusts in unlawful

                servicing and collection activities.8

The CFPB has identified systemic abuses, oversight failures, and improper debt

collection activities relating to the student loans comprising the Trusts’ assets.

These are events of default, requiring notice under the Trust Related Agreements.

By refusing to execute the Default Documents even when it would be indemnified

for taking actions in furtherance of the Owners’ instructions, Wilmington is putting
6
  Indenture § 5.04(a) (noting that these events will occur at the written direction of
the Interested Noteholders).
7
    Id.
8
  As identified in Exhibit 3, Section 3.07(b) of the Indenture provides that even
though the Issuer contracts with others to assist in its duties under the Indenture,
the performance of the Servicers and Administrator is deemed to be action taken
by the Issuer. Thus, by preventing the Trusts from initiating default procedures
against those entities, Wilmington is forcing the Trusts to continue its connection
to potentially unlawful activity.



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the Trusts at risk due to its own purported concerns based on an allegation by a

party defending another lawsuit.

      Specifically, Wilmington refuses to act because of the “ownership issue”

that has been the centerpiece of this litigation. Exhibit 2 (Sept. 19 email from N.

Caggiano to A. Levitt). But Wilmington’s latest refusal represents the latest in a

series of inconsistent positions between litigation and its ordinary business

practices. Wilmington intervened in this action to “obtain instructions from the

Court regarding the proper identity of the owners of the Trusts authorized to give

instructions to the Owner Trustee,” despite that Wilmington has sent—and

continues to send—notices to the Owners characterizing them as the “Owners” of

the Trusts,9 and representing the same under oath. See id. (Sept. 20 email from A.

Levitt to N. Caggiano). Inevitably, because Wilmington has indicated that it may

very well continue refusing to follow Owner instructions even after the issue is

decided,10 the Trusts need the immediate relief sought herein.



9
  Most recently, as described in the September 20 email from Adam Levitt, on
September 19, 2017, where Dorri Costello, a Wilmington Vice President, emailed
the “Owners” of the Trusts: “NC Residuals Owners Trust, NC Owners LLC and
Pathmark Associates, LLC, as Owners (the ‘Owners’).”
10
  Exhibit 2 (Sept. 20 email from A. Levitt to N. Caggiano, noting that, “the fact is
that you have already represented to us in your July 7, 2017 email that, regardless
of the Court’s determination, WTC may still elect to ignore owner instructions
(‘While the Trust Agreements provide for Owners to direct the Owner Trustee in


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      Wilmington should be required to execute the Default Documents as

required by the Trust Agreements; however, Wilmington refuses to act.

Accordingly, because Wilmington will not perform its obligations to the Trusts, the

Owners respectfully request that the Court grant this emergency motion so that

counsel for the Owners may send the required Default Documents, and prevent the

Trusts from potentially, and immediately, violating the terms of the Indenture, as

well as the terms of the Proposed Consent Judgment.

                                   ARGUMENT

      To justify the relief Plaintiffs seek, Plaintiffs must demonstrate that: (1) they

have asserted colorable claims; (2) the harm to the Trusts will be irreparable; and

(3) the balance of the equities lies in favor of granting the motion.          Trilogy

Portfolio Co., LLC v. Brookfield Real Estate Fin. Partners, LLC, 2012 WL

120201, at *1 (Del. Ch. Jan. 13, 2012).11

      As set forth below, Plaintiffs here satisfy each of these standards, and are

thus entitled to their requested relief. Wilmington should execute the Default

Documents; however, its refusal to act is placing the Trusts at risk of immediate

harm. Accordingly, the Court should grant Plaintiffs’ requested equitable relief.

certain circumstances, as you know, the Owner Trustee is not always obligated to
follow Owner directions. . . .’).”).
11
  The elements described herein concern motions for temporary restraining orders.
Plaintiffs seek similar, urgent relief.



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      1.     The Trusts have demonstrated sufficient evidence to make
             equitable relief appropriate, here.
      Emergency relief may be granted where “it clearly appears from specific

facts shown by affidavit . . . that immediate and irreparable injury, loss or damage

will result to the applicant. . . .” Ch. Ct. R. 65(b)(1). To determine whether a party

has asserted sufficient facts to justify the order like the one Plaintiffs seek, here,

the moving party must only show “a reasonable probability of success on the

merits. . . .” Durkee Indus. Foods Corp. v. Reckitt & Colman, Inc., 1989 WL

42472 at *4 (Del. Ch. Apr. 10, 1989). Since “the evidentiary record in a [similar]

situation is seldom as developed as it is in a preliminary injunction setting . . . the

inquiry becomes whether the movant has made a showing sufficient to warrant

stopping action or threatened action for some abbreviated period of time until the

evidentiary record can be developed for the presentation of a preliminary

injunction motion.” Id.; Cottle v. Carr, 1988 WL 10415 at *3 (Del. Ch. Feb. 9,

1988) (“[T]he approach often taken (but rarely articulated) [on a similar motion] . .

. is whether the moving party has made a showing . . . sufficient to justify holding

up the challenged act or transaction for the brief period required to develop an




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evidentiary record and to make an orderly presentation of a preliminary injunction

motion.” (quotation omitted)).12

      The Trusts have set forth sufficient evidence that Wilmington has violated

the Trust Related Agreements by refusing to follow valid directions from the

Owners of the Trusts to execute and deliver Notices of Default to the

Administrator and Special Servicer of the Trusts. See Affidavit of Amy E. Keller,

attached hereto. Wilmington is required by the Trust Agreements to “take such

action or actions as may be specified in [the Trust Agreement] or in any instruction

delivered in accordance with [the Trust Agreement].” 13          Exhibit 5 (Trust

Agreement, § 4.02(a)). Wilmington may only refuse a valid instruction from the

Owners if:



12
   The facts here are simple, and governed by the Trust Related Agreements and
the parties’ communications. However, to the extent the Court deems the record
undeveloped with regard to this motion, courts have “recognized that motions for
TROs may be subject to less exacting merits-based scrutiny,” and thus “greater
flexibility accompanies judicial consideration of a motion for a TRO, which
permits the Court to assess the imminent and irreparable injury sought to be
avoided by the movant.” CNL-AB LLC v. Eastern Property Fund I SPE (MS REF)
LLC, 2011 WL 353529, at *7 (Del. Ch. Jan. 28, 2011). The relief sought by
Plaintiffs here is similar to that of a temporary restraining order.
13
  In its Motion to Intervene, Wilmington admits that “[t]o discharge its duties as
Owner Trustee, subject to its rights, privileges and protections in the Trust
Agreements, Wilmington Trust may be required to follow directions from, and
cause the Trusts to act at the behest of, the Owners from time to time. Exhibit 6
(Wilmington Trust Company’s Unopposed Motion to Intervene ¶ 3).



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      [I]t shall have reasonably determined, or shall have been advised by
      counsel, that such action:

            (i) is contrary to the terms [of the Trust Agreement] or of any
            document contemplated hereby to which the Trust or the Owner
            Trustee is a party or is otherwise contrary to law, (ii) is likely to
            result in personal liability on the part of the Owner Trustee,
            unless the Owners shall have provided to the Owner Trustee
            indemnification or security reasonably satisfactory to the
            Owner Trustee against all costs, expenses and liabilities arising
            from the Owner Trustee’s taking of such action, or (iii) would
            adversely affect the status of the Trust as partnership for
            Federal income tax purposes.

(emphasis added).

      By refusing to follow the Authorization and Direction letter sent to it by the

Owners, Wilmington has failed to comply with its obligations under Section

4.02(a) of the Trust Agreements. Wilmington has failed to identify its “reasonable

determination” or advice from counsel excusing its refusal to act. 14 Simply,

Wilmington has no good excuse: the events of default identified in the Default

Documents are supported by the CFPB’s findings. As a result of those findings, the

Trusts are required to send such notices to the Indenture Trustee under the

Indenture and Wilmington is required to facilitate such notices under the Trust

14
   Nor has Wilmington, in its Motion to Intervene, identified any reasonable
determination or opinion from counsel that the ownership dispute alleged by
PHEAA has any merit. Instead, Wilmington states that “Wilmington Trust does not
take a position with respect to the identity of the beneficial owner(s) of the
Trust. . . .” Ex. 7 (Wilmington Trust Company’s Unopposed Motion to Intervene, ¶
10).



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Agreements. Exhibit 4 (Indenture, §§ 3.07(d) and 3.18); Exhibit 5 (Trust

Agreements, § 4.02(a)).

      Wilmington does not (and cannot) reasonably believe that it will be subject

to personal liability for complying with its contractual obligations. The

Authorization and Direction Letter clearly and unambiguously agrees to indemnify

Wilmington “from and against any and all losses, damages, liabilities, claims,

actions, suits, costs, expenses, disbursements (including all reasonable fees and

expenses of its counsel, agents, and other experts), taxes, and penalties of any kind

and nature whatsoever. . . .” Composite Exhibit 1 (Authorization and Direction

Letter, ¶3). There is thus no valid basis for Wilmington’s refusal to follow the

instructions contained in the Authorization and Direction Letter.

      However, the Owner Trustee, Wilmington, refuses to act, and the Trusts are

owner-directed Delaware Statutory Trusts formed under the Delaware Statutory

Trust Act, 12 Del. Code §§ 3801, et seq. As provided in § 2.03(b)(i) of the Trust

Agreement, in conducting the operations of the Trusts, the Trusts act solely in their

own name, and “the Owner Trustee or other agents selected in accordance with this

Agreement will act on behalf of the Trust subject to direction by the Owners. . . .”

      Accordingly, because Wilmington refuses to execute the Default

Documents, the Trusts believe that they may be in violation of the Indenture on




                                         11
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Monday, September 25, 2017.15 But any interpretation of the Trust Agreement or

Indenture that would require the Trusts to violate the Indenture because the Owner

Trustee refuses to act is an obvious contravention of the original intent of the

parties. “It is a basic principle of equity that the Court of Chancery has jurisdiction

to reform a document to make it conform to the original intent of the

parties.” Waggoner v. Laster, 581 A.2d 1127, 1135 (Del. 1990). Obviously, the

original intent of the Owners and Wilmington was not to allow the Trusts to violate

the Indenture in the event of a disagreement. Accordingly, the Court should

exercise its power to afford aggrieved parties an equitable remedy, and allow the

Owners to take action, themselves, allowing their counsel to execute and serve the

Default Documents.

      2.     The Trusts will be irreparably harmed.

      The Trusts face imminent and irreparable harm in the absence of immediate

action by the Court. Plaintiffs need not show the exact damage to the Trusts, but

only present their colorable claims. See Cnty. of York, 2008 WL 4824053, at **7-8

(Del. Ch. Oct. 28, 2008) (finding a “sufficiently pled possibility of irreparable

harm” even though the plaintiff had alleged threatened irreparable harm “in the


15
  Pursuant to Section 3.18 of the Indenture, the Trusts are obligated to give the
Indenture Trustee written notice of each Event of Default, “within five days after
the occurrence thereof. . . .”



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most cursory fashion.”).     The Trusts have set forth far more than cursory

allegations of irreparable harm.

      If the Trusts’ motion is denied, and Wilmington persists in its refusal to

execute and deliver the above-referenced default notices, the Trusts may be in

breach of the Trust Related Agreements no later than Monday, September 25,

2017. Once this happens, the Trusts may be unable to recover: the Indenture

Trustee may institute proceedings for collection of all amounts payable on the

Notes; institute proceedings for the complete or partial foreclosure of the

Indenture; or sell the Indenture Trust Estate. Exhibit 4 (Indenture § 5.04(a)(i)-

(iv)). Most importantly, the Trusts have no other adequate remedy at law to

prevent the harm that is certain to occur, other than a Court order allowing them to

act in the absence of Wilmington’s action. See Cook v. Oberly, 459 A.2d 535, 540

(Del. Ch. 1983) (finding that party seeking order “must also demonstrate that no

adequate remedy exists at law and that equitable intervention is, therefore,

necessary”). The Trusts have, therefore, demonstrated a substantial threat of

irreparable harm if the requested order is not granted.

      3.     The balance of hardships favors the Trusts.

      The balance of hardships clearly favors the Trusts. “[I]f the balance of

hardships tips decidedly towards the plaintiff, it is ordinarily sufficient that the

plaintiff has raised questions going to the merits which are so serious, substantial,


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difficult and doubtful, as to make them fair ground for litigation and thus, for more

deliberate investigation.” Cottle, 1988 WL 10415 at *3 n.4 (quoting G.B.C., Inc. v.

United States, 302 F. Supp. 1283 (E.D. Tenn. 1969)).

      The Trusts here face imminent, irreparable harm for which there is no other

adequate remedy at law while Wilmington, on the other hand, will suffer no

prejudice if Owners’ counsel executes and serves Notices of Default.               16



Accordingly, the Trusts’ Motion should be granted.




16
   When the “ownership issue” is resolved by the Court, at that point, Wilmington
(or any successor Owner Trustee) can ratify the Default Documents to conform
with the Trust Related Agreements that the Owner Trustee should act for the
Trusts. As it concerns Wilmington’s immediate concerns, if it were required to
execute the Default Documents, the Authorization and Direction Letter clearly
states that the Trusts agree to indemnify and hold Wilmington harmless for any and
all personal liability and/or expenses that will result as a consequence of following
the Owners’ directions. Composite Exhibit 1 (Authorization and Direction Letter, ¶
3).

       Furthermore, the Default Notices clearly state that “[a]ny statements and
certifications herein and in the attached are statements and certification of the
Trusts only and not of Wilmington Trust Company.” Id. (Notices of Default to
Administrator and Special Servicer, Owner Trustee Disclaimer). Finally, the Trust
Agreement indemnifies Wilmington for actions it takes on behalf of the Owners.
Exhibit 5 (Trust Agreement, § 10.02). Thus, Wilmington’s claim that it would be
prejudiced as a result of being required to follow these instructions is disingenuous
at best.



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                                 CONCLUSION
      For all of the foregoing reasons, the Trusts respectfully request that this

Court grant this motion allowing the Owners’ counsel to execute and serve the

Default Documents pursuant to the Indenture and the CFPB Proposed Consent

Judgment. This equitable relief is appropriate, the Court is able to grant it, and it

would prevent the Trusts from potentially violating the Indenture.



Dated: September 22, 2017              Respectfully submitted,



 OF COUNSEL:                                  GRANT & EISENHOFER P.A.

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